Case 1:01-cv-12257-PBS Document 7622-3 Filed 06/24/11 Page 1 of 97




                 Exhibit 3
Case 1:01-cv-12257-PBS Document 7622-3 Filed 06/24/11 Page 2 of 97

                                                                         27377278




                                                                     Oct 5 2009
                                                                      2:23PM
Case 1:01-cv-12257-PBS Document 7622-3 Filed 06/24/11 Page 3 of 97
Case 1:01-cv-12257-PBS Document 7622-3 Filed 06/24/11 Page 4 of 97
Case 1:01-cv-12257-PBS Document 7622-3 Filed 06/24/11 Page 5 of 97
Case 1:01-cv-12257-PBS Document 7622-3 Filed 06/24/11 Page 6 of 97
Case 1:01-cv-12257-PBS Document 7622-3 Filed 06/24/11 Page 7 of 97
Case 1:01-cv-12257-PBS Document 7622-3 Filed 06/24/11 Page 8 of 97
Case 1:01-cv-12257-PBS Document 7622-3 Filed 06/24/11 Page 9 of 97
Case 1:01-cv-12257-PBS Document 7622-3 Filed 06/24/11 Page 10 of 97
Case 1:01-cv-12257-PBS Document 7622-3 Filed 06/24/11 Page 11 of 97
Case 1:01-cv-12257-PBS Document 7622-3 Filed 06/24/11 Page 12 of 97
Case 1:01-cv-12257-PBS Document 7622-3 Filed 06/24/11 Page 13 of 97
Case 1:01-cv-12257-PBS Document 7622-3 Filed 06/24/11 Page 14 of 97
Case 1:01-cv-12257-PBS Document 7622-3 Filed 06/24/11 Page 15 of 97
Case 1:01-cv-12257-PBS Document 7622-3 Filed 06/24/11 Page 16 of 97
Case 1:01-cv-12257-PBS Document 7622-3 Filed 06/24/11 Page 17 of 97
Case 1:01-cv-12257-PBS Document 7622-3 Filed 06/24/11 Page 18 of 97

                                                                          27377278




                                                                      Oct 5 2009
                                                                       2:23PM
Case 1:01-cv-12257-PBS Document 7622-3 Filed 06/24/11 Page 19 of 97
Case 1:01-cv-12257-PBS Document 7622-3 Filed 06/24/11 Page 20 of 97
Case 1:01-cv-12257-PBS Document 7622-3 Filed 06/24/11 Page 21 of 97
Case 1:01-cv-12257-PBS Document 7622-3 Filed 06/24/11 Page 22 of 97
Case 1:01-cv-12257-PBS Document 7622-3 Filed 06/24/11 Page 23 of 97
Case 1:01-cv-12257-PBS Document 7622-3 Filed 06/24/11 Page 24 of 97
Case 1:01-cv-12257-PBS Document 7622-3 Filed 06/24/11 Page 25 of 97
Case 1:01-cv-12257-PBS Document 7622-3 Filed 06/24/11 Page 26 of 97
Case 1:01-cv-12257-PBS Document 7622-3 Filed 06/24/11 Page 27 of 97
Case 1:01-cv-12257-PBS Document 7622-3 Filed 06/24/11 Page 28 of 97
Case 1:01-cv-12257-PBS Document 7622-3 Filed 06/24/11 Page 29 of 97
Case 1:01-cv-12257-PBS Document 7622-3 Filed 06/24/11 Page 30 of 97
Case 1:01-cv-12257-PBS Document 7622-3 Filed 06/24/11 Page 31 of 97
Case 1:01-cv-12257-PBS Document 7622-3 Filed 06/24/11 Page 32 of 97
Case 1:01-cv-12257-PBS Document 7622-3 Filed 06/24/11 Page 33 of 97
Case 1:01-cv-12257-PBS Document 7622-3 Filed 06/24/11 Page 34 of 97
Case 1:01-cv-12257-PBS Document 7622-3 Filed 06/24/11 Page 35 of 97
Case 1:01-cv-12257-PBS Document 7622-3 Filed 06/24/11 Page 36 of 97
Case 1:01-cv-12257-PBS Document 7622-3 Filed 06/24/11 Page 37 of 97
Case 1:01-cv-12257-PBS Document 7622-3 Filed 06/24/11 Page 38 of 97
Case 1:01-cv-12257-PBS Document 7622-3 Filed 06/24/11 Page 39 of 97
Case 1:01-cv-12257-PBS Document 7622-3 Filed 06/24/11 Page 40 of 97
Case 1:01-cv-12257-PBS Document 7622-3 Filed 06/24/11 Page 41 of 97
Case 1:01-cv-12257-PBS Document 7622-3 Filed 06/24/11 Page 42 of 97
Case 1:01-cv-12257-PBS Document 7622-3 Filed 06/24/11 Page 43 of 97
Case 1:01-cv-12257-PBS Document 7622-3 Filed 06/24/11 Page 44 of 97
Case 1:01-cv-12257-PBS Document 7622-3 Filed 06/24/11 Page 45 of 97
Case 1:01-cv-12257-PBS Document 7622-3 Filed 06/24/11 Page 46 of 97
Case 1:01-cv-12257-PBS Document 7622-3 Filed 06/24/11 Page 47 of 97
Case 1:01-cv-12257-PBS Document 7622-3 Filed 06/24/11 Page 48 of 97
Case 1:01-cv-12257-PBS Document 7622-3 Filed 06/24/11 Page 49 of 97
Case 1:01-cv-12257-PBS Document 7622-3 Filed 06/24/11 Page 50 of 97
Case 1:01-cv-12257-PBS Document 7622-3 Filed 06/24/11 Page 51 of 97
Case 1:01-cv-12257-PBS Document 7622-3 Filed 06/24/11 Page 52 of 97
Case 1:01-cv-12257-PBS Document 7622-3 Filed 06/24/11 Page 53 of 97
Case 1:01-cv-12257-PBS Document 7622-3 Filed 06/24/11 Page 54 of 97
Case 1:01-cv-12257-PBS Document 7622-3 Filed 06/24/11 Page 55 of 97
Case 1:01-cv-12257-PBS Document 7622-3 Filed 06/24/11 Page 56 of 97
Case 1:01-cv-12257-PBS Document 7622-3 Filed 06/24/11 Page 57 of 97
Case 1:01-cv-12257-PBS Document 7622-3 Filed 06/24/11 Page 58 of 97
Case 1:01-cv-12257-PBS Document 7622-3 Filed 06/24/11 Page 59 of 97
Case 1:01-cv-12257-PBS Document 7622-3 Filed 06/24/11 Page 60 of 97
Case 1:01-cv-12257-PBS Document 7622-3 Filed 06/24/11 Page 61 of 97
Case 1:01-cv-12257-PBS Document 7622-3 Filed 06/24/11 Page 62 of 97
Case 1:01-cv-12257-PBS Document 7622-3 Filed 06/24/11 Page 63 of 97
Case 1:01-cv-12257-PBS Document 7622-3 Filed 06/24/11 Page 64 of 97
Case 1:01-cv-12257-PBS Document 7622-3 Filed 06/24/11 Page 65 of 97
Case 1:01-cv-12257-PBS Document 7622-3 Filed 06/24/11 Page 66 of 97
Case 1:01-cv-12257-PBS Document 7622-3 Filed 06/24/11 Page 67 of 97
Case 1:01-cv-12257-PBS Document 7622-3 Filed 06/24/11 Page 68 of 97
Case 1:01-cv-12257-PBS Document 7622-3 Filed 06/24/11 Page 69 of 97
Case 1:01-cv-12257-PBS Document 7622-3 Filed 06/24/11 Page 70 of 97
Case 1:01-cv-12257-PBS Document 7622-3 Filed 06/24/11 Page 71 of 97
Case 1:01-cv-12257-PBS Document 7622-3 Filed 06/24/11 Page 72 of 97
Case 1:01-cv-12257-PBS Document 7622-3 Filed 06/24/11 Page 73 of 97
Case 1:01-cv-12257-PBS Document 7622-3 Filed 06/24/11 Page 74 of 97
Case 1:01-cv-12257-PBS Document 7622-3 Filed 06/24/11 Page 75 of 97
Case 1:01-cv-12257-PBS Document 7622-3 Filed 06/24/11 Page 76 of 97
Case 1:01-cv-12257-PBS Document 7622-3 Filed 06/24/11 Page 77 of 97
Case 1:01-cv-12257-PBS Document 7622-3 Filed 06/24/11 Page 78 of 97
Case 1:01-cv-12257-PBS Document 7622-3 Filed 06/24/11 Page 79 of 97
Case 1:01-cv-12257-PBS Document 7622-3 Filed 06/24/11 Page 80 of 97
Case 1:01-cv-12257-PBS Document 7622-3 Filed 06/24/11 Page 81 of 97
Case 1:01-cv-12257-PBS Document 7622-3 Filed 06/24/11 Page 82 of 97
Case 1:01-cv-12257-PBS Document 7622-3 Filed 06/24/11 Page 83 of 97
Case 1:01-cv-12257-PBS Document 7622-3 Filed 06/24/11 Page 84 of 97
Case 1:01-cv-12257-PBS Document 7622-3 Filed 06/24/11 Page 85 of 97
Case 1:01-cv-12257-PBS Document 7622-3 Filed 06/24/11 Page 86 of 97
Case 1:01-cv-12257-PBS Document 7622-3 Filed 06/24/11 Page 87 of 97
Case 1:01-cv-12257-PBS Document 7622-3 Filed 06/24/11 Page 88 of 97
Case 1:01-cv-12257-PBS Document 7622-3 Filed 06/24/11 Page 89 of 97
Case 1:01-cv-12257-PBS Document 7622-3 Filed 06/24/11 Page 90 of 97
Case 1:01-cv-12257-PBS Document 7622-3 Filed 06/24/11 Page 91 of 97
Case 1:01-cv-12257-PBS Document 7622-3 Filed 06/24/11 Page 92 of 97
Case 1:01-cv-12257-PBS Document 7622-3 Filed 06/24/11 Page 93 of 97
Case 1:01-cv-12257-PBS Document 7622-3 Filed 06/24/11 Page 94 of 97
Case 1:01-cv-12257-PBS Document 7622-3 Filed 06/24/11 Page 95 of 97
Case 1:01-cv-12257-PBS Document 7622-3 Filed 06/24/11 Page 96 of 97
Case 1:01-cv-12257-PBS Document 7622-3 Filed 06/24/11 Page 97 of 97

                                                                          27377278




                                                                      Oct 5 2009
                                                                       2:23PM
